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 4                          UNITED STATES DISTRICT COURT
 5                         SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                      Case No.: 17CR0623-JLS
 8                                     Plaintiff,
                                                    ORDER GRANTING THIRD PARTY
 9   v.                                             MOTION TO INTERVENE AND SETTING
                                                    BRIEFING SCHEDULE RE: MOTION TO
10   JAMES DOLAN (4),                               QUASH SUBPOENA

11                                  Defendants.
12
13         Third Parties Audiation Inc. and Project Brazen Pte. Ltd. have filed a motion to
14   intervene and a motion to quash Defendant James Dolan’s subpoena to produce documents
15   (ECF No. 635). Good cause appearing, the motion to intervene is Granted.
16         Defendant shall file a response to the motion to quash by December 10, 2021. A
17   reply may be filed by December 17, 2021. At that time, the motion will be deemed
18   submitted and the parties shall await the further order of the Court. Enforcement of the
19   subpoena shall be stayed pending resolution of the motion.
20         IT IS SO ORDERED.
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22   Dated: December 1, 2021
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